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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF CONNECTICUT
----------------------------------------------------------------
THE IDLER COMPANY, INC.,                                         Civil Action No.
                                                                 3:09-cv-698 (JCH/HBF)
                                         Plaintiff,

         -v-

SPLINTERNET HOLDINGS, INC., VIDIATION,
INC., VIDIATION, LLC, FRANK O’CONNOR and
JAMES C. ACKERLY,

                                         Defendants.               September 21, 2011
----------------------------------------------------------------

               STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE


         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff The Idler Company,

Inc. (“Idler”) and Defendants Frank O’Connor and Vidiation, LLC (as referred to herein,

together Mr. O’Connor and Vidiation, LLC are the “O’Connor Defendants”) hereby stipulate

that the claims asserted in the First Amended Complaint by Idler against the O’Connor

Defendants are voluntarily dismissed with prejudice.

Plaintiff,                                                 Defendants,
THE IDLER COMPANY, INC.                                    FRANK O’CONNOR AND
                                                           VIDIATION, LLC


 /s/ Jill M. O’Toole                                        /s/ Frank O’Connor
Jill M. O’Toole (Fed. Bar No. ct27116)                     Frank O’Connor (Pro se)
SHIPMAN & GOODWIN LLP                                      President and Chief Executive Officer
One Constitution Plaza                                     Vidiation, LLC
Hartford, Connecticut 06103-1919                           108 South Wynstone Park Drive
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SO ORDERED:

Dated:
                                                     The Honorable Janet C. Hall
                                                     United States District Judge




                                CERTIFICATE OF SERVICE

        I hereby certify that on September 21, 2011, I electronically filed the foregoing
Stipulation of Voluntary Dismissal With Prejudice with the Clerk of the District Court using the
CM/ECF system, which sent notification of such filing to the following CM/ECF participants in
this case:

J. Michael Sconyers
Ackerly Brown LLP
782 Bantam Road
P.O. Box 815
Bantam, CT 06750-0815

For Defendants Splinternet Holdings, Inc., Vidiation, Inc.,
and Mr. James C. Ackerly

Mr. Frank O’Connor
President and Chief Executive Officer
Vidiation, LLC
108 South Wynstone Park Drive, Suite 114
North Barrington, IL 60010

For Defendants Mr. Frank O’Connor
and Vidiation, LLC



                                                     /s/ Jill M. O’Toole




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